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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

 v.                                                Case No. 1:23-CR-00080 (ABJ)

 PETER J. HARDING,

        Defendant.



                JOINT MOTION TO CONTINUE STATUS CONFERENCE
       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, and Peter J. Harding, through counsel, hereby move the Court to

continue the status conference in this matter, now scheduled for July 2, 2024, by 45 days to

August 28, 2024, or a date thereafter as is convenient to the Court. The government will be

producing discovery that current defense counsel has not previously received. The government

and counsel for the Defendant have conferred and believe the additional time will ensure that

current counsel for the Defendant has sufficient time to review the additional discovery in

advance of requesting a trial date.

       The parties agree that the time from July 2, 2024, up to and including the rescheduled

status conference should be excluded so that the Defendant can continue to review discovery and

the parties can continue to consider potential resolution. The parties submit that the ends of

justice served by excluding the period of this continuance outweigh the best interest of the public

and the Defendant in a speedy trial, pursuant to 18 U.S.C. § 3161(h)(7)(A).
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Respectfully Submitted,
                                           /s/ Stephen F. Brennwald
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